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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                             )
    In re:                                                   ) Chapter 11
                                                             )
    RED RIVER TALC LLC,1                                     ) Case No. 24-90505 (CML)
                                                             )
                      Debtor.                                )
                                                             )

                      NOTICE OF APPEARANCE AND REQUEST
                    FOR SERVICE OF NOTICES AND PAPERS AND
                NOTICE OF WITHDRAWAL OF PRIOR REPRESENTATION

         PLEASE TAKE NOTICE that Paul Hastings LLP (“Paul Hastings”) has previously

appeared for the Ad Hoc Committee of Supporting Counsel (the “AHC of Supporting Counsel”)

in the above-referenced chapter 11 case (the “Chapter 11 Case”). Paul Hastings has withdrawn as

counsel for the AHC of Supporting Counsel effective as of November 15, 2024, and hereby

withdraws its appearance in the Chapter 11 Case as counsel for the AHC of Supporting Counsel.

Paul Hastings, subject to approval of its retention by the Court, now hereby submits its appearance

as co-lead bankruptcy counsel to the Official Committee of Talc Claimants (the “TCC”) and,

pursuant to section 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

(the “Bankruptcy Code”), and Rules 2002, 3017, 9007, and 9010 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), requests that all notices given or required to be




1
    The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s address is 501 George
    Street, New Brunswick, New Jersey 08933.
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given in this Chapter 11 Case, and all papers served or required to be served in the Chapter 11

Case, be given and served upon:

                              PAUL HASTINGS LLP
                              Schlea M. Thomas
                              600 Travis Street, 58th Floor
                              Houston, Texas 77002
                              Telephone: (713) 860-7300
                              Email: schleathomas@paulhastings.com

                              -and-

                              Kristopher M. Hansen
                              Kenneth Pasquale
                              Ryan P. Montefusco
                              200 Park Avenue
                              New York, New York 10166
                              Telephone: (212) 318-6000
                              Email: krishansen@paulhastings.com
                              kenpasquale@paulhastings.com
                              ryanmontefusco@paulhastings.com

                              -and-

                              Matthew M. Murphy
                              71 S. Wacker Drive, Suite 4500
                              Chicago, Illinois 60606
                              Telephone: (312) 499-6000
                              Email: mattmurphy@paulhastings.com

       PLEASE TAKE FURTHER NOTICE that the foregoing demand is not only for the

notices and papers referred to in the sections of the Bankruptcy Code and the Bankruptcy Rules

specified above, but also includes, without limitation, any and all orders and notices of any

application, motion, petition, complaint, demand, request, or other pleading in the Chapter 11

Case, whether formal or informal, whether written or oral, and whether transmitted or conveyed

by mail, delivery, telephone, electronically, or otherwise filed with or delivered to the Bankruptcy

Clerk, Court, or Judge (as those terms are defined in Bankruptcy Rule 9001), which affects

the TCC.

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       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance, nor any

later appearances, pleadings, proofs of claim, claims, or suits filed in the Chapter 11 Case, shall be

deemed or construed as a waiver of: (i) any rights of the TCC to (a) have final orders in any

non-core matters entered only after de novo review by the United States District Court for the

Southern District of Texas (the “District Court”), (b) trial by jury in any proceeding so triable in

the Chapter 11 Case or any case, controversy, or proceeding related to the Chapter 11 Case,

(c) have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal; or (ii) any other rights (including setoff and recoupment), claims,

actions, and defenses of the TCC either in law or in equity, under any agreements or otherwise, all

of which rights, claims, actions, and defenses are expressly reserved.



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Dated: November 26, 2024        Respectfully submitted
       Houston, Texas
                                /s/ Schlea M. Thomas
                                PAUL HASTINGS LLP
                                Schlea M. Thomas (TX Bar No. 24131710)
                                600 Travis Street, 58th Floor
                                Houston, Texas 77002
                                Telephone: (713) 860-7300
                                Facsimile: (713) 353-3100
                                Email: schleathomas@paulhastings.com
                                -and-
                                Kristopher M. Hansen (admitted pro hac vice)
                                Kenneth Pasquale (admitted pro hac vice)
                                Ryan P. Montefusco (admitted pro hac vice)
                                200 Park Avenue
                                New York, New York 10166
                                Telephone: (212) 318-6000
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                                       ryanmontefusco@paulhastings.com
                                -and-
                                Matthew M. Murphy (admitted pro hac vice)
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                                Chicago, Illinois 60606
                                Telephone: (312) 499-6000
                                Facsimile: (312) 499-6100
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                                Proposed Co-Lead Bankruptcy Counsel for the Official
                                Committee of Talc Claimants




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                                    Certificate of Service

        I hereby certify that a true and correct copy of the foregoing document was served by
electronic mail via the Court’s ECF system to all parties authorized to receive electronic notice in
this case on November 26, 2024.

                                                 /s/ Schlea M. Thomas
                                                 Schlea M. Thomas




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